Case 5:20-cv-03122-JAR-GEB Document 50-1 Filed 04/24/23 Page 1 of 11

KANSAS DEPARTMENT OF CORRECTIONS INMATE GRIEVANCE FORM
INMATE COMPLAINT

Inmate's Name ( Sry Co. ‘Bon ALEE. number OIALRAS ,
Facility LDC Housing Unit \ \-\A Work Detail CrC

aA
ver

NATURE OF COMPLAINT BE SPECIFIC. (Include names, dates, places, rules, regulation, etc.; how you have
been affected and action you believe the Warden should take.) Use additional paper if necessary. ATTACH DOCUMEN-
TATION OF ATTEMPTS AT INFORMAL RESOLUTION PRIOR TO FILING THIS FORMAL GRIEVANCE (i.e. Form

9s or other correspondence and response from staff member). OM Ax ad “2-3-3 \ CSAS
BOdKS BY ANSE “Kamran. SIRE Nnonbesy Cooper Loyness “The

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RAO yy on
Date this report was given to Unit Team for informal resolution (to be completed by inmate). U —\\ “oh 4

 

 

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UNIT TEAM RESPONSE (Complete and retum to inmate within 10 calendar days.)

. Unit Uf Signature ate

INMATE RESPONSE (Complete and return to Unit Team within 3 calendar days)
I am satisfied with the Unit Team response and wish to withdraw my formal grievance,

I am not satisfied with the Unit Team response, and wish to forward to the Warden's office. (This must be done
within 3 calendar days.) Date forwarded to Warden's Office (to be completed by staff),

 

 

Inmate Signature Date

 

“WARDEN RESPONSE (Complete, attach response and return within 10 Working days.)

Date Received Date of Final Answer Date Returned to Inmate

 

 

Inmate's Stenature Date Unit Team Signature Date
If dissatisfied with this response, the inmate may appeal to the Secretary of Corrections within three (3) calendar days of
receipt of this dectsion from the Warden,

 

TO BE COMPLETED BY STAFF ONLY

Grievance Serial Number

 

 

Type of Complaint (Item 4: Code 01-75)

 

Cause of Complaint (Item 5: Code 01-30)

 

 

Type of Response (Item 6a: Code 01,02,08 or 09)

 

 

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Case 5:20-cv-03122-JAR-GEB Document 50-1 Filed 04/24/23 Page 2 of 11

INMATE REQUEST TO STAFF MEMBER

To: Date:
(Name and Title of Officer or Department}

 

 

 

Unit Team Member Signature To be retained by Inmate
For Cellhouse Transfer 3A EL
Work Assignment Last Name Only

 

Interview Requests

KANSAS DEPARTMENT OF CORRECTIONS F

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INMATE REQUEST TO STAFF MEMBER

To: Di - Census. Date: 4 = \U ~ Xd
(Name and Title of Officer or Department)
State completely but briefly the problem on which you desire assistance. (Be specific.)

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OE _Lscyana PeCEA (SEE Ahyoclendat)) On U-!3-33 Sel Oy
ina Shiodkes On 9-31-23.

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Number

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Work Assignment: a» —~ OP Living Unit Assignment: D\- -\ Ly Ly Dscvrncaes
Comment: Unit Team Members Signature:
(WSL G2
Disposition:
To: Date:
(Name & Number) :
Disposition:
Employee’s Signature To be returned to inmate.

P-0009b

 
Case 5:20-cv-03122-JAR-GEB Document 50-1 Filed 04/24/23 Page 3 of 11

phone: (785) 296-3317
fax: (785) 296-0014
_kdocpub@doc.ks.gov
wiww,doc, ks.gov

Landon State Office Building
900 SW Jackson, 4" Floor
Topeka, KS 66612

 

 

Jeff Zmuda, Secretary of Corrections .
a, ary Department of Corrections

_ TO: Brownlee, Gustin. (KDOC# 0073693) D1-146 DATE: 04/14/2023

SUBJECT: Grievance Response FROM: Brian Reeves
. Unit Team Supervisor D-CH

FINDINGS OF FAGT: Resident Brownlee, Gustin. (KDOC# 0073693) claims:

4. He was attacked by Resident Whitehead on 3/31/2023
2. CO! Cooper did not render aid, but instead laughed at it while making jokes about it.
3. Resident received injury to neck, and eye.

CONCLUSIONS MADE: Resident Brownlee’s claim is not supported at this time for the following
reasons:

' 4. Hearing Officer notes on 3/21/2023 at 8:17:13 "Offender Brownlee wraps his arms around

~ Defendant (Whitehead). Offenders grapple for a period.”

2. After reviewing documents and asking for personal accounts from both COI Cooper and COI
Lagat; | have found no evidence or testimonial to support Resident Brownlee's claim that COI
Cooper failed to render aid or that he found humor in the circumstance.

3. When | came down to A-CH later that day to have the Residents sign their Administrative Seg
Report placing them both on Pre-Hearing Detention, | saw Resident Brownlee’s face clearly as
he spoke to me, and no visible injuries to his eyes were present. Resident moved neck without
complaint or twitch while | spoke with him. Resident did put in a sick cail on 04/08/2023 for his
neck and eye.

ACTION TABREN:
No further actions needed

   

Brian Reeves Unit Tear Supervisor

Laura Kelly, Governor ©

me

 
Case 5:20-cv-03122-JAR-GEB Document 50-1 Filed 04/24/23 Page 4 of 11

Attachment B, |MPP 20-105 -

Effective 07-08-14

Kansas Department of Corrections
Administrative Segregation Report

 

TO: Warden Williams Report Number: 23-0530

FROM: CCl Reynalds

Date This Report Filed 04/19/2023 Time of Placement 1143.m

Date of Segregation placement 04/19/2023 Time of Placement 1244 m

Offender Name:Brownlee, Gustin # 73693 Reason(S) For Segregation (including Rule No. and Title)

Moved from Gell #: 04-146 to Segregation Cell #. 81-266 IMPP 20.104-1,B.4 Pre-Hearing Detention

Pre-Segregation hearing conducted
[_] Pre-Segregation hearing NOT conducted (Explain) Offender offender moved to segregation for PHD.

Facts:In pursuant to IMPP20-104-1.B.4 Pre-Hearing Detention, on 4/19/2023 resident Brownlee #73693 made
threats of great bodily harm toward mental health staff. This placement Is for the safety and security of the facility.

CIThis placement Is an Involuntary Protective Custody due to PREA Concerns fRespond to next two sections)
What is the basis for the facllity’s concern for the offender's safety?

 

What is the reason no alternative means of separation can be arranged?

. Approved By:
LE Date? Ayes t / TH LEE Date 4 if 25

Signature a fe of Reporting Officer Shift Supervisor or Seg Unit Mgr.

 

Date _/ /
Warden Authorization (If Needed) ,

OFFENDER ACKNOWLEDGMENT:
| recelved a copy ofthis reporton: Date _/ / Time: : m

 

 

Offender Signature and Number . Staff Witness and Title

Record this Document in Imaging
Original to Master File
Copy to: Warden

Offender

PCM

 

 
Case 5:20-cv-03122-JAR-GEB Document 50-1 Filed 04/24/23 Page 5 of 11

INMATE REQUEST TO STAFF MEMB BR ,

To: [- £™ Dats:
(Name and Title of Officer or Departinent) ( ()

To be retained by Inmate

 

 

 

Unit Team Member Signature

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For Cellhouse Transfer .
Work Assignment Last Name Only
Taterview Requests

 

KANSAS DEPARTMENT OF CORRECTIONS FE .
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INMATE REQUEST TO STAFF MEMBER‘ .

we. D= Codes Date: \- 30 ~24

(Name and Title of Officer oMBepar tment)
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Work Assignment: Lint fhe y LN LZ : iL Living Unit Assignment: Bu: Mol 9

 

 

 

 

 

 

 

 

 

 

Comment: L, ues f Lo ae HA a 7 Hy Unit Team Members Signature:
at ane ew oe sees sated, *
ey cnieuneegecrte =
” Disposition: ‘
Pot a OT Dates
(Name & Number)
Disposition:

 

 

 

 

 

Employee's Signature ...’. ..-To be returned to inmate.

 

 

 

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Case 5:20-cv-03122-JAR-GEB Document 50-1 Fred 04/2 e6of11
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DD a
x a A Phone: (785) 296-3317

, ans as Fax: (785) 296-0044
714 S.W. Jackson St, Suite 300 . L ¢ (785) 206-0014

 

Topeka, KS 66603 Department of Corrections www.doc.ks.gov
Jeff Zmuda, Secretary Laura Kelly, Governor
To: Juvenile and Adult Facility Residents and Family Members
From: Jeff Zmuda, Secretary
Date: April 10, 2023
Re: Revised Mail Handling procedures

Hello,

It’s been almost two years since KDOC piloted an electronic mail handling service at Ellsworth
Correctional Facility (ECF). That change was due to the number of incidents of illegal substances
coming into our facilities through the U.S. Mail. Those incidents pose serious health risks for staff and
residents. Since that time, ECF has seen a decline in the number of related incidents involving residents
found in altered states where it’s necessary for staff members to provide life-saving emergency care to
revive someone.

With safety and security of our staff and residents being our primary goal, added with the success we
are seeing at ECF, we believe it is time to take the next step of implementing the revised mail handling
procedures at all facilities, effective April 24, 2023.

The new mail handling procedures require all mail be photocopied. General mail of letters, greeting
cards, and envelopes will be photocopied in black and white by staff and then given to the resident.
Photographs and drawings will be photocopied in color by staff and then given to the resident. Legal,
official and privileged mail will be photocopied by the resident under staff supervision. Incoming mail
will normally be delivered within 24 hours after its receipt at the facility, except weekends and holidays,
or when the mail contains contraband. Packages will usually be delivered within 48 hours.

We understand many look at mail as a lifeline to outside support of families and loved ones. So, we
ask that you understand this is not about restriction but instead, this is about added safety measures
against threats to the lives of all staff and residents from entering our facilities.

We understand this will be an adjustment, However, the writing will not be altered. The content of the
messages will not change. As we understand maintaining connections through messaging, no matter
what form, is important. Many of you are familiar with and have used electronic messaging. This is a
practice we encourage you to continue. For those who have not, please consider it. For more on how
e-messaging works, please click the link:
httos://www.doc.ks.gov/facilities /faq/communication/messages

Thank you for your assistance, cooperation and understanding as we implement this process to enhance
safety in our facilities.

 
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Attachment B, IMPP 15-102A
Effective 04-19-22

Private Industry Employment Referral
*Attach Private industry Application

Namef##: decry g. . 2 plate He EW. _ Date: 4414732

Medical Classification: BH Classification: STG Validation: Yes No

Disciplinary History:__\pes

Escape History Info/Dates: Abbe

Detainers: Yes ap

\f yes — list details:

 

 

Managed as Sex Offender: Yes CNo)

if yes -Sex Offender Specialist Notified: ‘~—(—-—f-——""—""

TN

Comments/Recommendations:

 

SOP Discharge Summary Recommendations: Af
Victim Services Notified) —/A-———
Comments/Input;

Medical/Behavioral Health Notified: ——-—__+--—

Comments/Input: Af,

 

 

PNIC Review
/ f Approve Disapprove
i: / Approve Disapprove

i / Approve Disapprove

 
Case 5:20-cv-03122-JAR-GEB Document 50-1 Filed 04/24/23 Page 8 of 11

Attachment C, IMPP 15-102A
Effective 04-19-22

Acknowledgement and Agreement for Private industry Employment

1 Nerny R, Bolo. # VAIO) _. agree to accept employment with a private industry
company in KDOC. | fully understand, agree and acknowledge the following:

1. | may be terminated from employment at the discretion of the employer or the facility for any of the
following reasons: .

My behavior interferes with my employment.

My behavior is deemed to be incompatible with the employer.

My behavior jeopardizes the security or operations of the facility.

My behavior is inconsistent with K.A.R. 44-12-328 and IMPP 02-118D defining staff
relationships which includes but is not limited to:

aoop

i. Any exchange or gift of items such as money, tobacco, food, etc,

ii. Any attempt to place a civilian employee on the resident visiting list.
ili. Any correspondence with a civilian employee.

iv. Any attempt to meet with a civilian employee other than during work.

| understand and agree that there is no due process protection against or upon termination from employment.
-- am not entitied to any type of hearing prior to, after or in connection with termination from employment.-—-- -

3. -  lunderstand and agree that any attempt to engage in personal relationship with any staff including
civilian employees of the employer is grounds not only for termination from employment, but also may
result in disciplinary action against me for violation af provisions of the Inmate Rule Book.

we .

E7TULD 4-114) 23

# Date

 

 

 

 

 

 

Witness Signature Date

 
Case 5:20-cv-03122-JAR-GEB Document 50-1 Filed 04/24/23 Page 9 of 11

 

 

 

 

“TInmate Name 7 No: Case No. Facility:
i BROWNLEE, GUSTIN #73693 23-04-210 EDCF
INMATE REQUEST FOR WITNESS
C] lL, BROWNLEE, GUSTIN , waive my right to request witness(es).
bY i, BROWNLEE, GUSTIN , request that the following person:

 

Ny cles [1] Inmate No: Af stat Title yt i .

The above named witness will testify as follows:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

In lieu of personal appearance of witness CI | hereby waive the above witness. Inmate’s Initials
C] see attached notarized witness testimeny submitted: Inmate's Initials

inmate Signed: Seabin Pog tare Date: Y -JO-AD

Housing Unit Staff: Date: Time:

 

 

 

 

C Request Approved [] Request Disapproved Reason: (KAR 44-13-405a)

 

 

 

Signature: Date:
Hearing Officer

 

 

This form shail be completed and submitted to the Housing Unit Staff within 48 hours of receipt of the Discipilnary Report .

 

 

INMATE REQUEST FOR WITNESS

 

 

Fy i, BROWNLEE, GUSTIN , Waive my right to request witness(es).
Oo i, BROWNLEE, GUSTIN , request that the following person:
(I Inmate, No: (] Staff Title

 

The above named witness will testify as follows: Vy bg

 

 

 

 

 

 

 

 

 

 

 

 

 

 

In lieu of personal appearance of witness,_| | hereby waive the above witness. inrnate’s Initials
CJ see attached notarized witness testimony subrnitted: inmate’s Initials

Inmate Signed: Date:

Housing Unit Staff: Date: Time:

 

 

 

 

 

 

L] Request Approved [[} Request Disapproved Reason: (KAR 44-13-405a)

 

Signature: Date:
Hearing Officer

 

| This form shall be completed and submitted to the Housing Unit Staff within 48 hours of receipt of the Disciplinary Report .

 

 
Case 5:20-cv-03122-JAR-GEB Document 50-1 Filed 04/24/23 Page 10 of 11

5

 

 

 

 

 

 

imnate Name / No: Case No: Facility:
BROWNLEE, GUSTIN #73693 23-04-209 EDCF
INMATE REQUEST FOR WITNESS
CJ I, BROWNLEE, GUSTIN , waive my right to request witness(es).
ou I, BROWNLEE, GUSTIN , request that the following person:
Cy, Yay C1 inmate No: CI Staff Title

 

The above named witness will testify as follows:__"\D_ fisag Deeps nes == 99

 

 

 

 

 

 

 

 

 

 

 

 

 

 

in lieu of personal appearance of witness CE] | hereby waive the above witness. Inmate’s initials
C] see attached notarized witness testimony submitted: Inmate’s Initials

Inmate Signed: Date:

Housing Unit Staff: Date: Time:

 

 

 

 

[] Request Approved [] Request Disapproved Reason: (KAR 44-13-405a)

 

 

 

Signature: Date:
Hearing Officer

 

 

This form shail be completed and submitted to the Housing Unit Staff within 48 hours of receipt of the Disciplinary Report .

 

 

INMATE REQUEST FOR WITNESS

Cc] I, BROWNLEE, GUSTIN , waive my right to request witness(es).

 

Cl 1, BROWNLEE, GUSTIN , fequesi that the following person:
Lucas SCales (1 inmate, No: S7Ks A [] Staff Title

 

The above named witness will testify as follows: Yo suihnot- naepen OM Uy (G35

 

 

 

 

 

 

 

 

 

 

 

 

 

 

in fieu of personal appearance of witness, | | hereby waive the above witness. Inmate's Initials
C] see attached notarized witness testimony submitted: tnmate’s Initials

inmate Signed: Hath in Breanne Date: U =o “a %

Housing Unit Staff: Date: Time:

 

 

 

 

( Request Approved [ Request Disapproved Reason: (KAR 44-43-405a)

 

 

 

Signature: Date:
Hearing Officer

 

 

| This form shall be completed and submitted to the Housing Unit Staff within 48 hours of receipt of the Disciplinary Report .

 

 

 
Case 5:20-cv-03122-JAR-GEB Document 50-1 Filed 04/24/23 Page 11 of 11

INMATE REQUEST TO STAFF MEMBER.

To: Date:
(Name and Title of Officer or Department)

 

 

 

 

Unit Team Member Signature To be retained by Inmate
Form 9 Bow oe
For Cellhouse Transfer ALE r
Work Assignment _ Last Name Only
Interview Requests
KANSAS DEPARTMENT OF CORRECTIONS ¥

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Number
INMATE REQUEST TO STAFF MEMBER

To: D\ : Ce\ \\oust Date: U ~ a2 ~Q2>

(Name and Title of Officer or Department)
State completely but briefly the problem on which you desire assistance, (Be specific.)

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Fon Brion HAeeves \ Cory o€ Tacnatee Acauesy To SiINt Sigadore
Ut Orion Boeves \ CoN oF Ta moa BeQuesy bo DAT AS CoWare
Ter ALY my Lega PAPIG too Y-do-da | Co 0€ Aber or iranite Som hep

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

_ Work Assignment: Lavy “AN Living Unit Assignment: {\ ~ \Uy
Comment: Unit Team Members Signature:
Disposition:
To: Date:
(Name & Number)
Disposition:
Employee's Signature To be returned to inmate.

P-0009D

 
